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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
KAREN READ,                            )
                                       )
            Petitioner,                )
                                       )                         Civil Action No.
      v.                               )                         25-cv-10399-FDS
                                       )
NORFOLK COUNTY SUPERIOR COURT )
and MASSACHUSETTS ATTORNEY             )
GENERAL,                               )
                                       )
            Respondents.               )
_______________________________________)


                                       SCHEDULING ORDER

SAYLOR, C.J.

          On February 18, 2025, petitioner Karen Read filed a petition for writ of habeas corpus in

this Court under 28 U.S.C. § 2241. She contends that her retrial in Norfolk County Superior

Court—scheduled to commence on April 1, 2025, after the trial court declared a mistrial on July

1, 2024—will violate her Fifth and Fourteenth Amendment protections against double jeopardy.

Petitioner is charged with second-degree murder, in violation of Mass. Gen. Laws c. 265, § 1

(Count 1); manslaughter while operating under the influence of alcohol, in violation of Mass.

Gen. Laws c. 265, § 13½ (Count 2); and leaving the scene of a collision resulting in death, in

violation of Mass. Gen. Laws c. 90, § 24(2)(a½)(2) (Count 3).

          With just six weeks until petitioner’s retrial is set to begin, the Court issues the following

scheduling order to provide an expedited timetable for briefing and argument on the contested

issues:

          1. Respondents shall file an opposition brief by Wednesday, February 26, 2025.
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      2. Petitioner shall file any reply brief by Friday, February 28, 2025.

      3. A hearing on the petition shall be held on Wednesday, March 5, 2025, at 9:30 a.m., in

          Courtroom 10.

So Ordered.


                                                /s/ F. Dennis Saylor IV
                                                F. Dennis Saylor IV
Dated: February 18, 2025                        Chief Judge, United States District Court




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